      Case 1:21-cr-00399-RDM Document 155-3 Filed 08/02/23 Page 1 of 4




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Attorneys for Defendant
Roman Sterlingov


                    UNITED STATES DISTRICT COURT
                        DISTRICT OF COLUMBIA


United States of America,

                          Plaintiff,               21-CR-00399-RDM
      v.
                                             SUBPOENA FOR DOCUMENTS
Roman Sterlingov,
                                                      EXHIBIT ‘A’
                          Defendant.



To:
CHAINALYSIS INC (Delaware Division of Corporations File No.5731603)

Resident Agent:                                    William Frentzen Esq.
Corporation Service Company                        Morrison & Foerster LLP
251 Little Falls Drive                             425 Market Street
Wilmington, DE 19808                               San Francisco, CA 20037


                                         1
           Case 1:21-cr-00399-RDM Document 155-3 Filed 08/02/23 Page 2 of 4




                               Documents and Objects to be Produced
1.         Access to Chainalysis Reactor software.

2.         The Source Code for Chainalysis Reactor software in all the versions used during the

pendency of the investigation in United States v. Roman Sterlingov (21-CR-00399-RDM Federal

District Court for the District of Columbia).

3.         All Change Logs for Chainalysis Reactor software.

4.         The final version of the internal Chainalysis study cited by Hanna Curtis in the webinar

“Cryptocurrency Typologies: What You Should Know About Who’s Who on the Blockchains”

which concluded that roughly 90% of the funds sent through mixers were done so for legal

personal privacy reasons.1

5.         Please produce a log documenting all material withheld on the basis of privilege, work-

product doctrine, or otherwise.

6.         All production must be in Native File Format unless otherwise agreed to.

7.         Defense Counsel is available for consultation to discuss any issues related to the

production of the requested items.



Deadline and place for production:

On or before August 14, 2023.


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1
    https://bitcoinmagazine.com/culture/chainalysis-most-mixed-bitcoin-not-used-for-illicit-purposes

                                                           2
       Case 1:21-cr-00399-RDM Document 155-3 Filed 08/02/23 Page 3 of 4




                                   Testimony Requested
1.     This subpoena includes a request for a custodian of records, or other qualified person,

who can authenticate any produced material in accordance with Federal Rule of Evidence

902(11).

2.     For materials that are not self-authenticating, the Defense requests that Chainalysis

produce an individual with knowledge who can testify as to the authenticity of the produced

material.




                                                3
       Case 1:21-cr-00399-RDM Document 155-3 Filed 08/02/23 Page 4 of 4




August 2, 2023
Brooklyn, NY
                                          Submitted,

                                          /s/ Tor Ekeland
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                                          Tor Ekeland Law, PLLC

                                          /s/ Michael Hassard
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